Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 1 of 8 PageID #: 5102




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

 The State of Texas, et al.,

                     Plaintiffs,
                                               Case No. 4:20-cv-00957-SDJ
 v.
                                               Hon. Sean D. Jordan
 Google LLC,

                     Defendants.



 PLAINTIFF STATES’ RESPONSE TO DEFENDANT GOOGLE’S FILINGS
         OF DISCOVERY “LETTERS” TO SPECIAL MASTER

      Plaintiff States (“States”) respectfully submit the following brief response to

Google’s two discovery “letter” filings made late last night on the Court’s docket,

addressed to the Special Master (ECF Nos. 221, 222). Google then emailed those

letters to the Special Master this morning, on February 8, 2024.

      As context, the parties have their first conference with the Special Master

today on February 8, 2024, at 10 a.m. That conference was set last week on January

30 by the Special Master with input from the parties. In advance of the February 8

conference, the Special Master asked only that the parties be prepared to discuss the

submissions on the proposed Coordination Order and logistics. The Special Master

did not invite any filings or submissions, on the Coordination Order or any other topic.

The Special Master and the parties have yet to discuss the process that will govern

submissions to the Special Master.

      Google’s eleventh-hour submissions on the Court’s docket, addressed to the


                                           1
Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 2 of 8 PageID #: 5103




Special Master, were improper for the following reasons, as well as full of

inaccuracies, which the States reserve the right to address more fully in later

submissions that comply with the orderly process to be set forth by the Special

Master.

      First, Google’s two discovery letters, filed late at night ahead of a morning

conference with the Special Master that has been set for over a week, leaves no time

for the States (17 in total) to respond fully in writing. There is a reason orderly

briefing deadlines are set for court submissions: to provide all parties with the

opportunity to respond and to provide the Court or Special Master sufficient time to

review the materials. Google’s timing of its filings, instead, appears designed to

“poison the well” with arguments and one-sided narratives that the States do not

have the opportunity to respond to and to cloud the record before the Special Master

and the Court ahead of the scheduled conference.

       Second, Google’s submissions violate and, at minimum, highly disrespect the

Special Master process ordered by the Court.         Under this Court’s procedures

generally, parties are not permitted to freely file and air their discovery disputes on

the docket until proper conference between the parties and the Court. See ECF No.

194 at 8. Here, the Court has specifically appointed the Special Master to determine

the process by which he will decide discovery disputes in the first instance. Google

should have waited to discuss the proper process with the Special Master, at today’s

scheduled conference, before filling this Court’s docket with purported discovery

letters. By contrast, the States served their view of ripe discovery disputes for the



                                          2
Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 3 of 8 PageID #: 5104




Special Master via letter to Google on February 7, 2024 after multiple correspondence

over the last few weeks and a party conference, to make Google aware of issues the

States may raise. The States did not improperly file with this Court or submit to the

Special Master that letter.

      Finally, Google’s submissions mischaracterize, and do not accurately reflect,

aspects of the state of discovery between the parties. The States will respond more

fully to Google’s two submissions pursuant to the orderly process to be ordered by the

Special Master. The States quickly summarize their initial responses below:

      With respect to Google’s first filed letter (ECF No. 221), which purports to

detail Google’s narrative of a “longstanding impasse with Plaintiffs” on Plaintiffs’

disclosures and discovery responses and productions:

      Google’s position that these “disputes” have been ripe for months for court

intervention is directly contrary to Google’s repeated representations to this Court in

December 2023 and January 2024 that “there are currently no discovery disputes

that otherwise require this Court’s intervention” and “there are currently no pending

discovery disputes” that Google made in trying to block the appointment of a special

master (ECF Nos. 197 at 2, 191 at 2).

      Moreover, the issues raised by Google are not ripe for court intervention. In

January 2024, the States agreed to provide amended interrogatory responses as soon

as possible (but no later than the week of February 12) to address the issues raised

by Google.    The States offered that reasonable timeline for amending their

interrogatory responses in an effort to provide additional information that Google



                                          3
Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 4 of 8 PageID #: 5105




seeks and to avoid piecemeal amendments and unnecessary intervention by the Court

or Special Master. Given the States’ agreement to provide amended interrogatory

responses in the very near future, the parties are not at an impasse on those issues.

Google continues to only take issue with the purported contents of the States’ planned

amendment, but Google anticipating that the States’ amended interrogatory

responses will not meet Google’s expectations is not sufficient grounds to declare an

impasse on a discovery dispute until those amended responses are actually served.

On January 25, 2024, Google served 17 separate letters on the States regarding their

discovery responses and productions. The States have preliminarily responded to

Google and advised Google that they are working diligently to respond to those

letters.   Google’s initial demand was to call the Court’s chambers, despite the

discovery disputes being assigned to the Special Master. Now, Google demands an

order asking for the 17 States to respond on February 12, 2024 before the February

15, 2024 hearing with Judge Jordan. Again, any ripe issues (if any) will be decided as

a result of the States’ upcoming amendments and will only then be appropriate for

the Special Master’s consideration.

       With respect to Google’s second filed letter (ECF No. 222), which purports to

provide “discovery background” of disputes that the States have raised with respect

to Google’s discovery actions, responses, and productions:

       Google appears to be trying to paint a picture of no issues from Google’s end.

That is not accurate and will be clarified in future submissions. The reality is that

Google has steadfastly refused to produce responsive and relevant documents and



                                          4
Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 5 of 8 PageID #: 5106




data, until right before a Court conference. For that reason, the States see great

benefits to the Special Master process in forcing Google to comply with its discovery

obligations. Google’s letter also makes clear that the parties are at impasse on the

following issues with Google’s discovery obligations that the States plan to raise as

part of orderly submissions with the Special Master:

            Discovery correspondence from the Virginia case;

            Expert reports from the Virginia case;

            Search trial transcripts;

            Dashboards;

            Reproduction of word documents in native form;

            Links and document repositories; and

            APIs, programming guides, design documents, onboarding and training

             materials, and other technical documents.



      The States look forward to working with the Special Master to resolve these

issues in a timely and orderly process.




                                          5
Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 6 of 8 PageID #: 5107




Respectfully submitted,

 /s/ W. Mark Lanier                           /s/ Ashley Keller
 W. Mark Lanier                               Ashley Keller
 Mark.Lanier@LanierLawFirm.com                ack@kellerpostman.com
 Alex J. Brown                                150 N. Riverside Plaza, Suite 4100
 Alex.Brown@LanierLawFirm.com                 Chicago, Illinois 60606
 Zeke DeRose III                              (312) 741-5220
 Zeke.DeRose@LanierLawFirm.com
 Jonathan P. Wilkerson                        Zina Bash
 Jonathan.Wilkerson@LanierLawFirm.com         zina.bash@kellerpostman.com
 10940 W. Sam Houston Pkwy N                  111 Congress Avenue, Suite 500
 Suite 100                                    Austin, TX 78701
 Houston, TX 77064                            (512) 690-0990
 (713) 659-5200
 THE LANIER LAW FIRM, PLLC                    Noah S. Heinz
                                              noah.heinz@kellerpostman.com
                                              1101 Connecticut, N.W., 11th Floor
                                              Washington, DC 20005
                                              (202) 918-1123
                                              KELLER POSTMAN LLC


Counsel for Texas, Idaho, Louisiana (The
Lanier Law Firm only), Mississippi, North
Dakota, Mississippi, South Carolina, and
South Dakota

Submitted on behalf of all Plaintiff States

NORTON ROSE FULBRIGHT US LLP
Joseph M. Graham, Jr.
joseph.graham@nortonrosefulbright.com
Geraldine Young
geraldine.young@nortonrosefulbright.com
1301 McKinney, Suite 5100
Houston, Texas 77010
(713) 651-5151

Marc B. Collier
Marc.Collier@nortonrosefulbright.com
98 San Jacinto Blvd., Suite 1100
Austin, Texas 78701
(512) 474‐5201


                                          6
Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 7 of 8 PageID #: 5108




FOR PLAINTIFF STATE OF TEXAS:

KEN PAXTON
Attorney General

/s/ Trevor E. D. Young
Brent Webster, First Assistant Attorney General
of Texas Brent.Webster@oag.texas.gov
Grant Dorfman, Deputy First Assistant Attorney
General Grant.Dorfman@oag.texas.gov
James R. Lloyd, Deputy Attorney General for Civil
Litigation James.Lloyd@oag.texas.gov
Trevor Young, Deputy Chief, Antitrust
Division Trevor.Young@oag.texas.gov

STATE OF TEXAS, OFFICE OF THE ATTORNEY GENERAL
P.O. Box 12548
Austin, TX 78711-2548
(512) 936-1674

Attorneys for Plaintiff State of Texas




                                         7
Case 4:20-cv-00957-SDJ Document 223 Filed 02/08/24 Page 8 of 8 PageID #: 5109




                           CERTIFICATE OF SERVICE

      I certify that on February 8, 2024, this document was filed electronically in

compliance with Local Rule CV-5(a) and served on all counsel who have consented to

electronic service, per Local Rule CV-5(a)(3)(A).

                                               /s/ W. Mark Lanier
                                               W. Mark Lanier




                                           8
